Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 1 of 12 PageID# 26033




                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA




   United States of America, et al.,

                         Plaintiff,                     Case No. 1:23-cv-00108-LMB-JFA

         v.
                                                        The Honorable Leonie M. Brinkema
   Google LLC

                         Defendant.




         THE TRADE DESK, INC.’S MOTION TO SEAL EXHIBITS ENTERED INTO
                              EVIDENCE AT TRIAL


         Pursuant to Local Rule 5(c) of the Rules of the United States District Court for the Eastern

  District of Virginia and the Modified Protective Order, The Trade Desk, Inc. (“The Trade Desk”),

  through its undersigned counsel, hereby respectfully moves this Court for an order granting The

  Trade Desk’s motion to seal certain of the parties’ exhibits entered into evidence at trial

  (“Motion”). The Trade Desk seeks leave to file under seal and redact the following documents:

     •   Certain exhibits identified in Plaintiffs’ Trial Exhibit List (Dkt. No. 892-1) and Defendant

         Google LLC’s Trial Exhibit List (Dkt. No. 894) which are identified in Appendix A to this

         motion.

     •   Excerpts of the deposition testimony of The Trade Desk’s Chief Revenue Officer, Jed

         Dederick, designated as highly confidential pursuant to the Modified Protective Order, and

         identified in Appendices B and C to this motion.
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 2 of 12 PageID# 26034




         Consistent with the local rule and this Court’s Electronic Case Filing Policies and

  Procedures, undersigned counsel have filed the materials at issue using the sealed filing event on

  CM/ECF and hereby certify that they will serve a copy on relevant counsel and deliver a copy to

  this Court in a separate container labeled “UNDER SEAL.” The grounds for this motion are

  contained in the memorandum of law concurrently filed in support of this motion. A proposed

  order is attached for the Court’s convenience.

  Date: July 26, 2024
                                               /s/ David L. Johnson
                                               David L. Johnson (VSB 89289)
                                               LATHAM & WATKINS LLP
                                               555 Eleventh Street, NW, Suite 1000
                                               Washington, D.C. 20004
                                               Telephone: (202) 637-2200
                                               Facsimile: (202) 637-2201
                                               david.johnson@lw.com

                                               Elizabeth Prewitt (pro hac vice)
                                               Lauren Sun (pro hac vice forthcoming)
                                               Ryan Maamoun (pro hac vice forthcoming)
                                               LATHAM & WATKINS LLP
                                               1271 Avenue of the Americas
                                               New York, NY 10020
                                               Telephone: (212) 906-1354
                                               Facsimile: (212) 751-4864
                                               elizabeth.prewitt@lw.com
                                               lauren.sun@lw.com
                                               ryan.maamoun@lw.com

                                               Aaron T. Chiu (pro hac vice)
                                               LATHAM & WATKINS LLP
                                               505 Montgomery Street, Suite 2000
                                               San Francisco, CA 94111
                                               Telephone: (415) 391-0600
                                               Facsimile: (415) 395-8095
                                               aaron.chiu@lw.com

                                               Attorneys for The Trade Desk, Inc.




                                                   2
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 3 of 12 PageID# 26035




                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 26, 2024, I caused a copy of the foregoing to be electronically
  filed using the CM/ECF system, which will then send a notification of such filing to all counsel of
  record.


  Date: July 26, 2024
                                                /s/ David L. Johnson
                                                David L. Johnson
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 4 of 12 PageID# 26036




                            APPENDIX A
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 5 of 12 PageID# 26037




       TTD EXHIBIT NO.          TRIAL EXHIBIT NO.        RELIEF REQUESTED

            Exhibit 1                 DTX 1444                Under Seal

            Exhibit 2                 DTX 1799                Under Seal

            Exhibit 3                 DTX 1800                Under Seal

            Exhibit 4                 DTX 1801                Under Seal

            Exhibit 5                 PTX 1714                Under Seal

            Exhibit 6                 PTX 1715                Under Seal

           Exhibit 7A                 DTX 737                 Under Seal

           Exhibit 7B                 DTX 319                 Under Seal

            Exhibit 8                 DTX 523            Redactions Applied As
                                                             Highlighted

            Exhibit 9                 DTX 823                 Under Seal

           Exhibit 10                 DTX 1022                Under Seal

           Exhibit 11                 DTX 1051                Under Seal

           Exhibit 12                 DTX 1456                Under Seal

           Exhibit 13                 DTX 1084                Under Seal

           Exhibit 14                 DTX 1254                Under Seal

           Exhibit 15           DTX 1798 and DTX122           Under Seal

           Exhibit 16                 DTX 1139                Under Seal

           Exhibit 17                 DTX 520                 Under Seal

           Exhibit 18                 DTX 1162                Under Seal

           Exhibit 19                 DTX 1198                Under Seal

           Exhibit 20                 DTX 1447                Under Seal




                                        1
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 6 of 12 PageID# 26038




           Exhibit 21                 DTX 1170                Under Seal

           Exhibit 22                 DTX 1794                Under Seal

           Exhibit 23                 DTX 1795                Under Seal

           Exhibit 24                 DTX 1797           Redactions Applied As
                                                             Highlighted

           Exhibit 25                 DTX 1205                Under Seal

           Exhibit 26                 DTX 1398                Under Seal




                                        2
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 7 of 12 PageID# 26039




                            APPENDIX B




                                        3
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 8 of 12 PageID# 26040




         Plaintiff’s Deposition Designations of Jed Dederick’s Deposition Testimony

          Page From             Line From             Page to              Line to
             44                    21                   45                   22
             61                     7                   61                   24
             69                    20                   70                   15
             126                    5                  127                   20
             130                   20                  134                   4
             134                   18                  134                   20
             134                   22                  135                   3
             135                    4                  136                   11
             136                   12                  136                   25
             137                    2                  137                   15
             144                   15                  145                   18
             163                   11                  163                   13
             163                   16                  165                   20
             167                   14                  170                   4
             170                   13                  170                   15
             170                   17                  172                   7
             172                    8                  173                   3
             173                    4                  174                   4
             174                    5                  174                   8
             174                   10                  174                   24
             179                   19                  179                   23
             179                   25                  180                   22
             180                   25                  181                   25
             182                    2                  182                   20
             191                   24                  193                   9
             193                   10                  195                   2
             195                    4                  195                   25
             196                   12                  198                   18
             198                   21                  202                   5
             202                   22                  203                   8
             217                   10                  219                   4
             219                    5                  220                   7
             220                    8                  220                   10
             220                   11                  221                   10
             221                   12                  221                   23
             222                    3                  223                   9
             223                   12                  224                   23
             224                   25                  225                   11
             225                   23                  229                   2
             229                    4                  230                   2
             230                    3                  230                   8
             230                   10                  230                   24
             231                   14                  231                   20
             231                   24                  232                   15
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 9 of 12 PageID# 26041




          Page From          Line From         Page to           Line to
             232                18              233                4
             233                 6              234                3
             235                17              235                22
             236                 3              236                22
             236                23              237                3
             237                 5              238                18
             243                12              243                24
             244                 6              245                4
             245                 8              246                11
             247                18              247                20
             247                22              248                19
             249                 3              249                15
             249                18              250                14
             250                16              250                18
             250                20              251                22
             251                23              252                2
             252                 4              252                20
             253                 5              253                10
             253                11              253                17
             253                19              253                25
             254                 2              254                3
             254                 5              254                10
             254                15              254                18
             254                21              255                22
             255                25              256                4
             256                 6              257                6
             257                11              257                16
             257                18              257                23
             257                25              260                11
             260                12              261                17
             261                19              261                21
             261                23              263                25
             264                 2              264                6
             264                 8              265                15
             265                16              266                21
             267                11              268                20
             268                23              269                3
             269                 6              269                12
             269                14              269                17
             270                10              270                12
             270                14              271                3
             271                20              272                10
             272                11              274                14
             274                15              274                19
             274                21              276                3
             276                 5              276                19
             276                20              277                19
             277                21              280                3




                                         2
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 10 of 12 PageID# 26042




           Page From         Line From         Page to           Line to
              280                6              280                14
              281                2              281                5
              281                7              281                14
              282               11              282                15
              282               17              282                21
              282               23              285                4
              285               11              285                13
              285               15              285                16
              285               17              285                19
              285               21              286                12
              286               15              288                13




                                         3
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 11 of 12 PageID# 26043




                             APPENDIX C
Case 1:23-cv-00108-LMB-JFA Document 961 Filed 07/26/24 Page 12 of 12 PageID# 26044




   Defendant Google LLC’s Deposition Designations of Jed Dederick’s Deposition Testimony

          Page From              Line From             Page to              Line to
            41                      7                   41                    10
            44                      2                   44                    4
            44                      12                  44                    25
            45                      2                   45                    4
            60                      14                  60                    23
            60                      25                  60                    25
            61                      2                   61                    6
            62                      10                  62                    15
            62                      20                  62                    25
            63                      2                   63                    19
            64                      16                  64                    25
            65                      2                   65                    6
            72                      17                  72                    25
            73                      2                   73                    14
            73                      15                  73                    24
            98                      2                   98                    25
            99                      2                   99                    7
            99                      23                  99                    25
            100                     2                   100                   7
            100                     22                  100                   25
            101                     2                   101                   2
            102                     12                  102                   25
            103                     2                   103                   3
            105                     2                   105                   13
            108                     4                   108                   12
            120                     19                  120                   23
            122                     25                  122                   25
            123                     2                   123                   10
            127                     21                  127                   25
            128                     16                  128                   25
            129                     2                   129                   3
            293                     9                   293                   20
            293                     21                  293                   24
            294                     5                   294                   7
            295                     6                   295                   10
